                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION


 UNITED STATES OF AMERICA,                           §
                                                     §
                 Plaintiffs                          §
 V.                                                  §              EP-20-CR-00389-DCG
                                                     §
 PATRICK WOOD CRUSIUS,                               §
                                                     §
                 Defendant,                          §

                                ORDER APPOINTING COUNSEL


        On February 6, 2020, Defendant Patrick Wood Crusius ("Defendant") was charged with a

ninety (90) count indictment. EOF No. 1. In Defendant's indictment, counts 23-44 (Use of a

Firearm to Commit Murder During and in Relation to a Crime of Violence) carry a possible

penalty of death. 18 U.S.C. § 924(c), and § 924(j)(l). Under 18 U.S.C. § 3005, a defendant

charged with a capital crime who requests counsel is entitled to the assignment of two such

counsel, at least one of whom shall be learned in the lawapplicable to capital cases. ^ In

assigning counsel under this statute, the Court is to consider the recommendation of the Federal

Public Defender. 18 U.S.C. § 3005; United States v. Fields^ 483 F.3d 313, 347 (5th Cir. 2007).

        The Court concludes that Defendant qualifies for appointed counsel under 18 U.S.C. §

3005. After consulting with the Federal Public Defender and placing significant weight on her

recommendation, the Court appoints: (1) Mr. David Lane, of Killmer, Lane & Newman, LLP,



         ' While the Government has yet to notify the Court of whether it will seek to impose the death
penalty as punishment, 18 U.S.C. § 3593, the appointment of counsel under 18 U.S.C. § 3005 comes "into
play ... after the Government [has] charged [the defendant] with a capital offense." United States v.
Fields, 483 F.3d 313, 347 (5th Cir. 2007); see also In re Sterling-Suarez, 306 F.3d 1170, 1171 (1st Cir.
2002) (holding that courts should appoint learned counsel "reasonably soon after the indictment and prior
to the time that submissions are made to persuade the Attomey General not to seek the death penalty.");
United States v. Cordova, 806 F.3d 1085, 1101 (D.C. Cir. 2015) ("Even among courts that disagree as to
whether [learned counsel] is required after the government announces that it will not seek the death
penalty, there is agreement that 'prompt' means promptly after indictment, and not later.").
located at The Odd FellowsHall, 1543 Champa Street, Suite400, Denver, CO 80202; and (2)

Ms. Rebecca L. Hudsmith, Federal Public Defender for the Middle and Western Districts of

Louisiana, and her office, as learned counsel for Defendant.

       Mr. David Lane was provisionally appointed federal counsel for Defendant before his

indictment. Mr. Lane has extensive experience in death penalty cases, representing capital

defendants in both state and federal, trial and appellate courts all overthe country for overthirty

years. Further, he has been appointed as qualified learned counsel by several U.S. District

Courts on federal death penalty cases at trial, on appeal, and on post-conviction. Mr. Lanehas

also taught courses on Professional Responsibility, Trial Advocacy, and Death Penalty

Jurisprudence at the University of Colorado Law School, and courses on the Death Penalty and

First Amendment at the University of Denver School of Law.

       Ms. Rebecca L. Hudsmith is the Federal Public Defender for the Middle and Western

Districts of Louisiana. She was previously provisionally appointed as Defendant's federal

counsel before he was indicted. She has substantial experience working federal death penalty

prosecutions, having represented five defendants in the federal pre-authorization process and

representing one of them through trial as lead counsel. Ms. Hudsmith has offered to use the staff

and resources of her office in Defendant's case. She has obtained supplemental funds from the

Defender Services Committee in her capital cases and has gotten approval of a mega-case

budget, all of which she oversaw and managed as head of her office. The appointment of Ms.

Rebecca Hudsmith and her office will prove to be immensely helpful in maximizing cost-

effectiveness in Defendant's case. Further, Ms. Hudsmith has extensive work experience in

preparing attorney's fees and expense budgets and a strong working relationship with the Fifth

Circuit's CJA Case Budgeting Attorney, Ms. Margaret Alverson.
       Accordingly, IT IS ORDERED that, pursuant to 18 U.S.C. §3005, Mr. David Lane and
Ms. Rebecca L. Hudsmith, are HEREBY APPOINTED as learned counsel for Defendant
Patrick Wood Crusius.

        IT IS FURTHER ORDERED that Mr. David Lane SHALL be compensated at the
maximum rate for death penalty cases in the Western District of Texas, which as of February 11,
2020, is $195 per hour.

        IT IS FINALLY ORDERED that, pursuant to section 640.10 ofthe Guide to Judiciary
Policy, Volume 7A, "[a]ll capital cases shall be budgeted with the assistance of case-budgeting
attomeys and/or resource counsel where appropriate," therefore, appointed learned counsel
SHALL JOINTLY submit a budget for attorney fees and expenses that will be incurred in
representing Defendant Patrick Crusius through the PRE-AUTHORIZATION PHASE ofthis
matter. The budget SHALL be submitted ex parte, ten (10) days from the date that third
counsel is appointed. Counsel SHALL consult with Ms. Margaret Alverson, the Fifth Circuit
CJA Case Budgeting Attorney, who may be reached at (504) 310-7799 or by email at
Margaret_Alverson@ca5.uscourts.gov.^
         So ORDERED and SIGNED this 11 day ofFebruary 2020.



                                                      DAMID C. GUADERRAMA
                                                      UNITED STATES DISTRICT JUDGE


        ^While there is no statutory maximum amount for attorneys' fees in a capital case, counsel are
advised that, pursuant to the Judicial Council ofthe Fifth Circuit's Special Procedures for Reviewing
Attorney Compensation Requests in Death Penalty Cases, any request for compensation in excess of
$100,000 at the district court level is considered to be presumptively excessive. This language applies to
 requests for attorney compensation, but not to requests for reimbursement of out-of-pocket expenditures
 or expert fees. If the total fees submitted by counsel reach or exceed $100,000, the reimbursement offees
 in excess ofthat amount must be justified by the requesting attorney in a written submission filed with the
 presiding judicial officer in the district court.

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